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  NOTICE OF APPEAL to the 6th Circuit Court
  of Appeals (and/ or) Permission to
  APPEAL ECF Dco. # 1993 dated October 20th,
  2021 in Flint Water
  Crisis Case # 16-cv-10444.

  Please note: that [I] Melvin Jones Jr. (e.g.
  current address 1935 Hosler St. Flint, Michigan
  ph # 810-962-6225; email -
  meljonesjr@gmail.com).... [am] the Pro Se
  Appellant in Appeal # 21-1530.


  Please FILE my appeal (e.g. as the 6th Cir.) on
  previous occasion [VIA EMAIL] has
  specifically noted that i MUST submit such
  DIRECTLY to the Detroit District Court.
  Thank you,


  X_______________________________
  Melvin Jones Jr. - disabled Flint Resident
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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


   In re Flint Water Cases.                 Judith E. Levy
                                            United States District Judge
   ________________________________/

   This Order Relates To:

   ALL CASES

   ________________________________/

     OPINION AND ORDER GRANTING PLAINTIFFS’, STATE
   DEFENDANTS’, ROWE’S, AND THE MCLAREN DEFENDANTS’
    STIPULATED ORDER [1980-1] AND GRANTING THE FLINT
      DEFENDANTS’ MOTION TO FILE A SUR-REPLY [1992]

        Before the Court is Plaintiffs’ and the McLaren Defendants’1 motion

  for entry of a stipulated order. (ECF No. 1980.) The stipulated order they

  seek to have entered is attached as Exhibit 1 to their motion. (ECF No.

  1980-1.) The Flint Defendants filed a motion for leave to file a sur-reply,

  which is granted. (ECF No. 1992.) For the reasons set forth below, the

  stipulation is granted and will be entered as an Order of this Court.

   I.   BACKGROUND


        Capitalized terms are defined as set forth in the Amended Master Settlement
        1

  Agreement (ECF No. 1319-1) unless otherwise defined.
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        The Amended Master Settlement Agreement (“AMSA”) that has

  received preliminary approval from this Court has a variety of Walk

  Away rights that permit Defendants to withdraw from the settlement if

  various registration thresholds are not met. In addition to those rights,

  the McLaren Defendants also have Walk Away rights set forth in Section

  18.2 of the AMSA, which states:

        The McLaren Defendants in their sole and absolute
        discretion, will have the right to rescind, terminate, or cancel
        this Settlement Agreement as to the McLaren Defendants
        only if any of the persons listed on Exhibit 19 who allege
        exposure to Legionella at McLaren Flint Hospital during the
        period of April 25, 2014 through December 31, 2018 fail to
        timely register and provide required information to
        participate as a Claimant in the Settlement Program.

  (Id. at PageID.40389–40390.)

         Although the final list of registrations is not yet available, it is

  clear that the McLaren Defendants will be able to exercise their right to

  Walk Away from the settlement along with the $20,000,000 they

  committed to contributing to the Qualified Settlement Fund (“QSF”).2 If


        2 Under the AMSA, each participating Defendant negotiated certain rights and
  preconditions whereby they can walk away and terminate their involvement in the
  settlement. (ECF No. 1319-1, PageID.40389 (Article 18).) The existence of Walk Away
  rights in the AMSA is not unique to the McLaren Defendants.


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  the McLaren Defendants leave the settlement, then the following will

  occur. First, the McLaren Defendants’ contributions to the QSF must be

  returned to them. Second, the entire QSF is reduced by $20,000,000

  (which, in turn, reduces the total amount of funds available for Monetary

  Awards for all Claimants—not just those who sued the McLaren

  Defendants or have other Legionella claims). Third, Category 27 of the

  compensation grid is replaced with Exhibit 18 to the AMSA which affects

  the Monetary Award for certain Claimants asserting death from

  Legionella. (Id.; see also, ECF No. 1319-2, PageID.40825 n. 4.) Moreover,

  co-Defendants including the Flint Defendants3 would not receive the

  benefit of a cross-claim release from the McLaren Defendants. (ECF No.

  1991, PageID.68557 (citing ECF No. 1319-1, PageID.40385, ¶16.6).)

        The McLaren Defendants have expressed a willingness to remain a

  party to the settlement even though many of the individuals who filed

  cases against them have elected not to participate in the AMSA. They




        3 The Flint Defendants include not just the City of Flint itself, but also
  individuals Howard Croft, Michael Glasgow, Dayne Walling, Daugherty Johnson,
  Gerald Ambrose, Edward Kurtz, Darnell Earley, and Michael Brown. (ECF No. 1319-
  2, PageID.40338 (AMSA Para. 1.26).) While all of these individuals are represented
  by the City of Flint’s attorneys, it is not clear that the City Council has the authority
  to make decisions on behalf of these individuals.
                                             3
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  seek to contribute $5,000,000 to the QSF in lieu of exercising their Walk

  Away rights. This $5,000,000 would increase the total amount of funds

  for Monetary Awards for all Claimants. The McLaren Defendants put it

  this way: “it is appropriate and reasonable that the McLaren Defendants

  pay $5,000,000 as their agreed portion of the Settlement Amount” which

  is an amount that “appropriately reflects the level of registration, and it

  is preferable to having the McLaren Defendants rescind their

  participation and funding entirely.” (ECF No. 1980, PageID.68478.) Co-

  Lead Class Counsel and Co-Liaison Counsel for the Individual Plaintiffs

  agreed with the McLaren Defendants’ offer to continue participating in

  the settlement. All the Defendants except the City of Flint Defendants

  agree to the stipulation. (ECF No. 1980, PageID.68481.)

        The McLaren Defendants’ decision to remain in the settlement

  primarily impacts the registered participants in the AMSA and the

  McLaren Defendants, but it also preserves the cross-claim releases

  benefitting each Defendant. Although no Settling Defendant’s Walk

  Away or other rights affect another Settling Defendant’s rights and

  obligations under the AMSA (see ECF No. 1319-1, PageID.40389 (Article

  18)), both the State Defendants and Defendant Rowe agreed to the plan


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  for the reasons stated in the stipulation, and, undoubtedly, because the

  cross-claim releases benefit them as well.

        The City of Flint Defendants, however, have neither agreed to nor

  rejected the McLaren Defendants’ and Plaintiffs’ agreement to retain

  McLaren as a participating Defendant in the settlement. They

  determined that, unlike several previous stipulations regarding the

  AMSA’s terms, this stipulation needed to be a “decision of a legislative

  body,” meaning, the Flint City Council needed to vote on it. (ECF No.

  1983, PageID.68527.)

        Counsel for the City “submitted a resolution approving the

  proposed Amendment. . . and recommended its approval” to the City

  Council. (Id. at PageID.68528.) Upon review, the Flint City Finance

  Committee voted to submit a resolution approving the amendment to the

  full City Council at the September 13, 2021 City Council meeting. (Id. at

  PageID.68528.) Once the resolution reached the full City Council on

  September 13, 2021, however, the City Council decided to “table[] the

  resolution.” (Id. at PageID.68531–68532.) In other words, “the Council

  never approved the proposed amendment,” nor did it vote against it. (Id.

  at PageID.68529.) Even though the City Council has not rejected the


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  stipulation, the City of Flint contends that absent their agreement, the

  McLaren Defendants are prohibited from contributing funds to the

  settlement. They base this assertion not on any interpretation of the

  AMSA, but rather on general contract law that a contract cannot be

  amended absent agreement of all parties. They further assert that the

  decision of the City Council to table a proposed resolution is a decision

  that cannot be reviewed by any court and therefore this Court is barred

  from considering or granting the motion.

        For the reasons set forth below, the Flint Defendants’ position

  reflects a misinterpretation of the AMSA and of Michigan contract law.

  The Flint City Council may not halt a co-defendant from contributing

  funds to the QSF for the benefit of Plaintiffs, nor may the Flint

  Defendants prevent this Court from interpreting the terms of the AMSA.

  Fortunately, the Flint Defendants’ error can be rectified before its effects

  ripple further.

  II.   APPLICABLE LAW

        “Settlement agreements are a type of contract and are therefore

  governed by contract law.” Bamerilease Cap. Corp. v. Nearburg, 958 F.2d

  150, 152 (6th Cir. 1992). As set forth by the Michigan Supreme Court,


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  “[t]he primary goal in the construction or interpretation of any contract

  is to honor the intent of the parties.” Rasheed v. Chrysler Corp., 445 Mich.

  109, 127 n. 28 (1994). The Court looks to “the words used in the

  instrument,” for the parties’ intent. “Generally, if the language of a

  contract is unambiguous, it is to be construed according to its plain

  meaning. On the other hand, if the language of a contract is ambiguous,

  courts may consider extrinsic evidence to determine the intent of the

  parties.” Shay v. Aldrich, 487 Mich. 648, 660 (2010.)

        Michigan law implies a covenant of good faith and fair dealing in

  every contract. See Belle Isle Grill Corp. v. City of Detroit, 256 Mich. App.

  463, 476 (2003) (citing Ulrich v. Fed. Land Bank of St. Paul, 192 Mich.

  App. 194, 197, (1991)); see also, Hammond v. United of Oakland, Inc., 193

  Mich. App. 146, 151–52 (1992) (“It has been said that the covenant of

  good faith and fair dealing is an implied promise contained in every

  contract that neither party shall do anything which will have the effect

  of destroying or injuring the right of the other party to receive the fruits

  of the contract.”) (internal citations omitted).

 III.   DISCUSSION

          A. The Implied Covenant of Good Faith in Michigan
             Contract Law and the AMSA’s Modification Provisions
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        When each of the parties signed onto the AMSA, they did so with

  an implied covenant to act in good faith. And in exercising their duties

  under the AMSA, including when modifying the AMSA, they must act in

  good faith, and not unreasonably withhold consent. This duty is both with

  respect to the registered participants to the AMSA and with one another.

  Section 23.3 of the AMSA governs modifications and amendments, where

  it states: “This Settlement Agreement may be modified or amended only

  by a writing executed by Co-Lead Class Counsel, Co- Liaison Counsel,

  and Defendants’ Counsel and approved by the Federal Court.” (ECF No.

  1319-1, PageID.40401.) The duty of good faith applies to the entire

  AMSA, including Section 23.3.

        The decision of each Defendant to participate in the AMSA was

  entirely voluntary.4 The AMSA contemplates a City Council vote on

  whether to participate in the settlement where it states in paragraph 2.6:

        Flint Defendants’ obligation to pay is subject to their ability
        to obtain Flint City Council authorization, appropriation, and
        approval to pay the above sums into the FWC Qualified
        Settlement Fund. If the Flint Defendants fail to obtain that
        authorization, appropriation, and approval by December 31,


        4Indeed, not all Defendants in the Flint Water cases participated in the AMSA,
  and those non-settling Defendants will be part of the first round of bellwether trials
  beginning in February 2021.
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        2020 then the Flint Defendants’ participation in this
        Settlement Agreement shall be cancelled and rescinded as set
        forth in Article XVII-Rescission.

  (ECF No. 1319-1, PageID.40348 (emphasis added).) Notably, this is the

  only mention of the Flint City Council’s involvement anywhere in the

  AMSA – and it expressly refers to the approval for the obligation to pay.

  The Flint Defendants had the option of participating in the settlement

  provided that they obtained authorization, approval, and appropriation

  from the City Council by December 31, 2020. The Flint City Council voted

  in favor of joining the settlement for $20 million on December 21, 2020.

  See, City of Flint, Michigan, Press Releases, Flint City Council Majority

  Supports       $20     Million      Insurance       Payment       for     Residents

  (https://www.cityofflint.com/2020/12/22/flint-city-council-majority-

  supports-20-million-insurance-payment-for-residents/) (last visited Oct.

  20, 2021). Accordingly, after this point, the Flint Defendants are bound

  by the AMSA5 and by Michigan law’s implied covenant of good faith in

  contracting.




        5  Pending the outcome of the Plaintiffs’ unopposed motion for final approval
  of the settlement.
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        The Flint Defendants determined that they needed full City

  Council approval before the agreement between the McLaren Defendants

  and Plaintiffs can be entered by the Court. They base that position on

  their interpretation of the City Charter, where it states:

        The approval of litigation settlements is covered by Sections
        4.604 (A) and (B) in the City Charter[] which state:

        (A) [T]he City Attorney[] shall [] be the attorney and counselor
        to the municipal corporation of the City of Flint, its
        commissions, agencies, and other legal bodies of the city, its
        Mayor, its City Council and department heads and as such be
        responsible for all the legal affairs of the city.

        (B) [T]he City Attorney shall defend actions and lawsuits
        against the City of Flint, its agencies and its public servants,
        in which the City of Flint or public servants are a party, when
        they act in their scope and course of their employment.
        [However, n]o civil litigation of the City of Flint, [] may
        be settled without the approval and consent of the City
        Council.

  (ECF No. 1983, PageID.68531 (emphasis in original) (footnotes omitted).)

         As set forth in the McLaren Defendants’ reply brief, the Flint

  Defendants did not decide to participate in the settlement until

  November 2020. (ECF No. 1991, PageID.68556.) This was after the

  McLaren Defendants negotiated the provisions uniquely applicable to

  them with Plaintiffs and the State -- not the Flint Defendants. (Id.) The

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  AMSA does not contemplate any type of right held by the Flint

  Defendants (a co-Defendant) to assent to terms that uniquely apply to

  the McLaren Defendants and Plaintiffs.

           B. The Flint Defendants’ Position

        As set forth above, the City of Flint attorneys determined that the

  issue of modifying the AMSA so that the Plaintiffs may retain a

  contribution from the McLaren Defendants and so that the McLaren

  Defendants may continue to participate in the settlement should be

  submitted to the City Council and approved by a resolution. (ECF No.

  1983, PageID.68531.) This modification – unlike the approval required in

  Section 2.6 – does not involve an obligation by the Flint Defendants to

  pay anything or do anything at all. As far as this Court knows, no other

  modifications or clarifications of the AMSA have been brought to the full

  City Council, or any committee of it, for a vote.

        The Flint Defendants argue that the movants have turned

  “Michigan contract law on its head” with the movants’ position that “an

  amendment is not a ‘new’ contract, requiring the same requisites to

  formation as an initial agreement.” (ECF No. 1992, PageID.68592.) This

  argument is rejected. Movants have not turned Michigan contract law on


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  its head. The Flint Defendants correctly characterize the McLaren

  Defendants’ and Plaintiffs’ stipulation as an “amendment” in the very

  sentence quoted above. But then, they incorrectly argue that an

  “amendment” sets forth a “new” contract. By definition, an “amendment”

  is not an entirely “new” contract. Black’s Law Dictionary defines an

  amendment as “1. A formal and usu. minor revision or addition proposed

  or made to a statute, constitution, pleading, order, or other instrument;

  specif., a change made by addition, deletion, or correction; esp., an

  alteration in wording. 2. The process of making such a revision.”

  Amendment, Black’s Law Dictionary (11th ed. 2019). The definition and

  common usage of the term “amendment” presupposes that a contract

  already exists. When a party proposes an amendment to their existing

  agreement, an entirely “new” contract is not the result, particularly

  where, as here, the provisions of the AMSA that apply to the City of Flint

  and Flint Defendants remain unchanged by the McLaren Defendants’

  and Plaintiffs’ proposal. For sure, this is not a new contract with the City

  of Flint Defendants because it has no impact on them.

        Additionally, as set forth above, the AMSA itself governs

  amendments and modifications to its terms in Section 23.3. As a matter


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  of contract interpretation, nothing in this paragraph or anywhere else in

  the AMSA lends support to the notion that one Defendant would have

  the ability to act in a way that impairs upon another party’s contractual

  rights. The modification sought by all parties except the Flint Defendants

  would impose no additional obligations, nor would it take any rights away

  from the Flint Defendants. The principles of good faith and fair dealing

  that require the parties to act in a way that does not interfere with other

  parties’ performance, is the very essence of the duty of good faith set forth

  in Michigan law, and the Court interprets Section 23.3 to include the

  implied duty of good faith such that no party can unreasonably withhold

  consent.

        The Michigan doctrine of good faith and fair dealing is incorrectly

  interpreted by the Flint Defendants in their sur-reply where they

  indicate that movants “misunderstand” the duty of good faith, because,

  they argue, good faith “applies only in connection with the performance

  of a contract, not in connection with the decision to enter into, or modify,

  a contract, as is the case here.” (ECF No. 1992, PageID.68592–68593.)

  This argument attempts to make a distinction where there is none

  recognized in Michigan law or in the AMSA. The duty of good faith and


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  fair dealing applies to the parties’ performance under the terms of the

  AMSA, including section 23.3 governing amendments and modifications.

        The Flint Defendants rely on the case Stephenson v. Allstate Ins.

  Co., for the principle that “[a]n implied covenant of good faith and fair

  dealing in the performance of contracts is recognized by Michigan law

  only where one party to the contract makes its performance a matter of

  its own discretion.” 328 F.3d 822, 826 (6th Cir. 2003). Stephenson, in turn

  cites to a Fifth Circuit Court of Appeals case applying Michigan law, and

  an Eastern District of Missouri case applying Michigan law for that

  proposition.6 Id. But this analysis misses an essential key, which is how



        6Moreover, Stephenson involves a very different set of facts than are presented
  here. First, Stephenson involves a bilateral contract. But here, the AMSA is an
  agreement under which several defendants separately settled with Plaintiffs under
  one agreement.

         Additionally, Stephenson involves a dispute over an insurance agent’s proposed
  purchase of another agent’s book of business, where the underlying company’s
  agreement stated that the insurance company, “retains the right in its exclusive
  judgment to approve or disapprove such a transfer.” Id. at 824. That provision was
  deemed to ‘presume’ no discretion. Stephenson stands for the proposition that if a
  contract contains an ‘exclusive’ right to make a determination, there is no
  discretionary decision that could be subject to the implied covenant. In other words,
  there would be no basis to create an obligation that is contrary to the terms of the
  contract based on an implied covenant of good faith.

         Here, there is no attempt to impose an obligation on the Flint Defendants. To
  the contrary, the Flint Defendants seek to preclude other parties from acting. There
  is no provision present anywhere in the AMSA that would give the Flint Defendants,
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  the Michigan courts interpret their own laws. “As a federal district court,

  this Court is bound by the decisions of Michigan’s intermediate appellate

  courts unless it is convinced that the Michigan Supreme Court would

  decide the question differently.” United States v. Wayne Cnty. Cmty. Coll.

  Dist., 242 F. Supp. 2d 497, 507 (E.D. Mich. 2003) (citing Comiskey v. Auto.

  Indus. Action Grp., 40 F. Supp. 2d 877, 891 (E.D. Mich. 1999); United of

  Omaha Life Ins. Co. v. Rex Roto Corp., 126 F.3d 785, 789 (6th Cir.1997)).

  And here, where the Michigan courts have spoken many times regarding

  the duty of good faith and fair dealing, this Court has good reason to be

  convinced that the Michigan Supreme Court would construe its own laws

  regarding good faith and fair dealing to apply to Section 23.3 and to

  preclude the Flint Defendants from interfering with the rights of other

  parties to a multiple party contract on issues that do not apply to Flint.

  See e.g. Wedding Belles v. SBC Ameritech Corp., No. 250103 2005 WL

  292270 (Mich. Ct. App. Feb. 8, 2005) (“Generally, there exists an implied

  covenant of good faith and fair dealing in all contracts ‘that neither party



  much less the Flint City Council or anyone else, a right in their “exclusive judgment”
  to approve or disprove a modification to an existing contract, particularly where, as
  set forth many times, that modification does not affect the Flint Defendants’ own
  obligations, rights, and privileges under the AMSA.

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  shall do anything which will have the effect of destroying or injuring the

  right of the other party to receive the fruits of the contract.’ Hammond v.

  United of Oakland, Inc, 193 Mich. App 146, 151-152; 483 NW2d 652

  (1992), quoting Fortune v. National Cash Register Co, 373 Mass 96, 104;

  364 N.E.2d 1251 (1977). ‘[A]n implied covenant of good faith and fair

  dealing ... applies to the performance and enforcement of contracts,’

  limits ‘the parties’ conduct when their contract defers decision on a

  particular term, omits terms or provides ambiguous terms,’ Hubbard

  Chevrolet Co v. GM Corp, 873 F.2d 873, 876-877 (CA 5, 1989), or leaves

  the manner of performance to a party’s discretion. Ferrell v. Vic Tanny

  Int’l, Inc. 137 Mich.App 238, 243; 357 NW2d 669 (1984); Burkhardt v City

  National Bank of Detroit, 57 Mich.App 649, 652; 226 NW2d 678 (1975).”).

  None of the Settling Parties are imposing something “new” on the Flint

  Defendants. To the contrary, the Flint City Council is seeking to impose

  its own non-decision on the other parties, including the individual Flint

  Defendants.

        Finally, moving parties have a duty under Eastern District of

  Michigan Local Rule 7.1(a) to seek concurrence before filing a motion and,

  if concurrence is obtained, “request a matter of record by stipulated


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  order.” E.D. Mich. L.R. 7.1(a). The local rules authorize the Court to “tax

  costs for unreasonable withholding of consent.” E.D. Mich. L.R. 7.1(a)(3).

  This rule is rarely triggered in the Eastern District of Michigan. See, e.g.,

  Dupree v. Cranbrook Educ. Acad., No. 10-12094, 2012 WL 1060082 (E.D.

  Mich. Mar. 29, 2012). Arguably, the Flint Defendants’ withholding

  consent where the modification that does not impact the City of Flint

  Defendants whatsoever is unreasonable. The only impact on the City of

  Flint Defendants is the cross-claim release they gain by having the

  McLaren Defendants remain in the settlement. However, if the Flint

  Defendants wish to waive the cross-claim release from the McLaren

  Defendants, they may certainly address that issue as they deem

  appropriate.

        The Flint Defendants argue that Warda v. City Council of Flushing

  is “on point,” and prohibits any challenge to or review of the City

  Council’s decision to table the resolution - but they are incorrect, and that

  is not what is happening here. 472 Mich. 326 (2005). In Warda, the

  plaintiff police officer sought reimbursement for his attorney fees (under

  Mich. Comp. Laws § 691.1408(2), which provides for indemnification of a

  police officer’s attorney fees incurred in the discharge of the officer’s


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  duties) from the defendant city after the plaintiff incurred legal fees

  defending himself against criminal charges incurred while moonlighting

  with another municipality. The defendant city council declined to

  reimburse the plaintiff’s legal fees, finding that the attorney fees were

  not incurred in the officer’s duties for the defendant city, and the plaintiff

  sued.

          The Flint Defendants’ argument that Warda precludes any judicial

  review or determination in this situation is overbroad. Warda recognizes,

  as it must, that the decision of a legislative body is not inviolate: it is

  subject to challenge as illegal or unconstitutional. Thus, the Warda court

  expressly notes that if the statutory basis for an award of fees is not met,

  the legislative body could not award the fees. And if the legislative body

  did award fees in a situation that did not meet the statutory

  requirements, then the court could find that determination unlawful or

  outside the scope of the power of the legislative body. Similarly, here,

  there is nothing in the Flint City Charter that permits the City to

  determine whether another Defendant in a settlement may resolve

  claims brought by Plaintiffs in the settlement. The Charter only requires




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  that the City Council authorize settlements involving “civil litigation of

  the City,” which is not present here.

        There are also significant factual differences between Warda and

  this case that also make it an unsuitable illustration of the Flint

  Defendants’ points. For example, in Warda, the plaintiff was seeking the

  city council’s reimbursement out of its own coffers for the plaintiff’s

  attorney fees, and the city council voted not to permit the payment.

  Nothing even remotely similar is happening here. The McLaren

  Defendants would pay their own money into the settlement fund. They

  are not asking the Flint Defendants to pay more or less than the Flint

  Defendants have already agreed to, or anything of the sort. The McLaren

  Defendants’ desire to contribute to the QSF has no financial impact on

  the City of Flint, nor does it involve a settlement “of the City of Flint.”

  The Warda defendants were voting on their own budgetary spending,

  which is not the case with the Flint Defendants here.

        The circumstance now is whether the McLaren Defendants,

  Plaintiffs, and class members can agree to resolve claims between them

  through a stipulation. This is not a decision that affects litigation “of the




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  City.”7 Each Defendant has an independent right to Walk Away from the

  AMSA if triggered, and no Defendant can preclude another from

  exercising these rights. The McLaren Defendants’ decision to walk away

  (or not) is the McLaren Defendants’ decision alone. Similarly, the

  McLaren Defendants’ decision to contribute to the settlement, and the

  amount of the contribution, is between them and Plaintiffs – not the Flint

  Defendants.




        7  The Flint Defendants’ sur-reply makes much of their interpretation of the
  City Charter’s direction regarding the circumstances where a full-City Council vote
  is required. The Flint Defendants argue that movants essentially have no right to
  interpret the City Charter and by doing so, they are “officious intermeddlers with
  respect to the meaning of the Charter.” (ECF No. 1992, PageID.68592.) This is an
  unnecessarily inflammatory accusation, and the Court rejects it. The movants and
  now the Court are merely trying to resolve a conflict that has arisen – something the
  Court does nearly every day in this case. Intermeddling aside, it is the Court’s duty
  to address a pending motion. Meanwhile, the Court would be happy to remain focused
  on the core issues in this litigation, including whether final approval of the settlement
  is appropriate, among many other issues.

         Assuming hypothetically that the City Council had not had the resolution
  brought to it for a full-City Council vote and the City Council had not tabled the
  resolution but rather the City’s attorneys determined on their own not to consent to
  the stipulation, the result here would still be the same: this would still be an act
  contrary to the Court’s interpretation of the AMSA’s terms, including the meaning of
  Section 23.3 and the implied covenant of good faith and fair dealing. And additionally,
  Eastern District of Michigan Local Rule 7.1(a)(3) would remain applicable.

        Accordingly, the Flint Defendants need not take offense at the notion that
  someone other than its own attorneys would look to its City Charter to try to
  understand the circumstances here.
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        The Flint Defendants argue that the City Council’s decision to table

  the resolution is a legislative act that is inviolate, and that even this

  Court cannot look at this matter. The proper interpretation of the AMSA

  and applicable law makes the decision to table the resolution irrelevant.

  See fn. 7, above. The Flint Defendants’ interpretation is inconsistent with

  the AMSA, logic, principles regarding separation of powers, and the

  implied covenant of good faith. There is nothing in the AMSA that lends

  support to the notion that one Defendant to the AMSA may control how

  another Defendant modifies provisions that resolve a dispute between

  Plaintiffs and that Defendant.

        Moreover, the City Council’s decision to table the resolution is not

  a “decision” at all, much less a decision that is outside of the bounds of

  this Court’s ability to interpret. Nor is this a matter of the Court second-

  guessing the City Council’s failure to act because the Court disagrees

  with the City Council. Granted, tabling a vote regarding a separate

  Settling Defendant’s desire to increase the total QSF, which, in turn

  benefits all registered participants and has no additional financial

  impact on the City’s own participation and obligations is difficult to

  understand. Particularly since many of the individual participants in the


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  settlement are also City Council members’ own constituents – and even

  some of its members – all of whom would benefit from an increased

  Monetary Award if the settlement is given final approval. But that is not

  for the Court to decide or pass judgment on, and that is not what is being

  decided here. Rather, all that guides the Court’s decision here is its

  interpretation of the AMSA, basic Michigan contract law, and the Court’s

  Local Rules. It would be inconsistent with the implied covenant of good

  faith and with logic for the Court to interpret the AMSA as the Flint

  Defendants urge.

        In their sur-reply, the Flint Defendants argue that movants are

  unreasonably demanding a “reason” for the Council’s decision to table the

  resolution. (ECF No. 1992, PageID.68591.) The Court disagrees. The

  Flint Defendants overstate movants’ position. While the movants

  mention that they do not know or understand the reason for Council’s

  decision, in the end it does not matter what the Council’s motives were.

  All that matters is what the Court has already analyzed, which is

  whether the City Council can speak for the individual Flint Defendants,

  the impact of the decision to table the resolution, and whether that aligns

  with the AMSA and Michigan law.


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        The Flint Defendants also suggest that there is no duty to contract

  in Michigan, or any other state for that matter. First, this is not a new

  contract, so this argument can be set aside on that basis alone. Second,

  even if it were a new contract, it is not one with the City of Flint – the

  modification is between the McLaren Defendants and Plaintiffs and class

  members. But, even so, the Flint Defendants argue as follows: that even

  if there is a great car for sale at an excellent price and the potential

  purchaser needs a car, there is no cause of action against the potential

  purchaser for failure to buy the car. (ECF No. 1983, PageID.68530.) But

  that is not what is happening here. Here, there is a car for sale at an

  advantageous price for the Plaintiffs and they have signed a purchase

  agreement. Yet, the Flint Defendants, who will never drive the car, have

  no interest in the car whatsoever, and might even benefit from the

  Plaintiffs purchasing the car, are standing in the way of the sale. That

  cannot be what Michigan contract law, the terms of the AMSA, or the

  Local Rules allow.

  IV.   CONCLUSION

        As a matter of Michigan law and under the AMSA, the Flint

  Defendants have not cited any authority supporting their position that


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  this issue constituted a “new” settlement involving “civil litigation of the

  City” requiring a full City Council vote.

        Further, it would be inconsistent with the AMSA to find that the

  Flint City Council’s decision to table this resolution is a decision

  “inviolate.” The issue of the McLaren Defendants’ contribution to the

  QSF, and its amount, is a matter of the McLaren Defendant’s settlement

  with Plaintiffs and class members, not the Flint Defendants.

        For the reasons set forth above, the Court grants the stipulation

  attached as Exhibit 1 to the McLaren Defendants’ Motion. (ECF No.

  1980-1 (Stipulation and Order to Amend Paragraphs 2.1.3 and 2.3 of the

  Amended Settlement Agreement).)

        IT IS SO ORDERED.

  Dated: October 20, 2021                      s/Judith E. Levy
  Ann Arbor, Michigan                          JUDITH E. LEVY
                                               United States District Judge

                           CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was served upon
  counsel of record and any unrepresented parties via the Court’s ECF System to their
  respective email or First-Class U.S. mail addresses disclosed on the Notice of
  Electronic Filing on October 20, 2021.
                                              s/William Barkholz
                                              WILLIAM BARKHOLZ
                                              Case Manager


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